Fwd; Motion with stuff                Case 1:21-cv-00131-JL Document 262 Filed 03/01/24 Page 1 of 2
Mike Voris <lrishRebel1983@outlook.com>
Wed 2/28/2024 2:27 PM

To;The UPS Store #1759 <store1759@theupsstore.com>

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From: Mike Voris <lrishRebell983@outlook.com>
Sent: Wednesday, February 28, 2024 2:12:40 PM
To: Mike Voris <irishrebeil983@outlook.com>
Subject: Motion with stuff



Motion to extend trial date

DuLairc .v Voris
Case - 21 -cv-131 -JL, tie Laire ,v Voris. cl al.


Iliis is a petiiion/niotion to the court to extend the trial date to as suclt a time wlicii 1 (Gary Micliael Voris) am actually able prepare, mount and present a
sturdy defense.


As presented - and liere represented - a signed and notarized aflldavit from my physician ( tlie court has tlic original) as requested directly by Judge LaPlante
during last weeks \idco conference with the precise language His Honor requested.

/Vs my neurosurgeon states, 1 am on narcotics and will be until the physictil condition is overcome (sciatic nj ve in right leg) and his sound medical advice is 1
participate in no legal matters whatsoever until such a time has passed.                                                                                        m         m

Mr. Coopers has written the court saying that rescheduling the date will incoWenicnce his \<itncsses.

1 can assure the court that w'hatever inconvenience he claims for his witnesses, will not come close to the inconvenience I will                                                         suffer by not being allowed to
prepare and present my own defense.

Moreover - as he has told the court repeatedly - the entire reason for him trying to shoehorn and bully me into a trial in a period wiiere 1 am unable to mentally
and physically to be at the top of my game is because of his other trials schedule.

Again. 1 do not believe his trial schedule should override and negate my right to adequately defend myself.


Moreover - his client has already accepted an agreement for a half a million dollars from one of the previous parties, so it's not like a requested delay is going
to harm him financially.


Likewise - 1 have never expressed an untruth to this court in anyway w'hatsocver.

'file same cannot be said of Mr. Cooper, in the last Video conference he stated that I was unwilling to accept ANY responsibility in this case.

’lliai is/wns a lie and to prove it. 1 am also submitting emails bctw'een him and I w'here 1 go into great detail saying the exact opposite to which Mr. Copper

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Feb. 28. 2024.
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